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                                  SCOTTY'S HOLDINGS, LLC

         ACTION BY WRITTEN CONSENT OF SOLE EXECUTIVE MANAGER
                         AND OF SOLE MEMBER

        The undersigned Berekk A. Blackwell, as the sole Executive Manager of, and the
undersigned PRP Scotty's Holdings, LLC, a Delaware limited liability company, as the sole
Member ("Sole Member") of, Scotty's Holdings, LLC, an Indiana limited liability company (the
"Company"), in accordance with and pursuant to the Company's operating agreement and Article
18 of Title 23 of the Indiana Code, do hereby consent to, adopt, and approve the following
resolutions, with the same force and effect as if such resolutions were duly adopted by the
affirmative vote of the Sole Member taken at a special meeting duly called and held on the
11th day of December, 2018 ("Effective Date"):

             WHEREAS, in the judgment of the Executive Manager and the Sole
    Member of the Company, based in part upon a review of the Company's assets and
    liabilities and in consultation with its advisors, it is desirable and in the best interests
    of the Company, its creditors, equity holders, and other interested parties that a
    voluntary bankruptcy petition (the "Petition") be filed by the Company under the
    provisions of chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101-
    1532 (the "Bankruptcy Code");

            NOW, THEREFORE, BE IT RESOLVED, that the Company shall be, and
    it hereby is, authorized, directed and empowered to file the Petition and to perform
    any and all such acts as are reasonable, advisable, expedient, convenient, proper or
    necessary to effect the same;

             FURTHER RESOLVED, that the Executive Manager or any other manager
    or officer so designated by the Executive Manager, acting together or alone (each, a
    "Designated Officer"), is hereby authorized, directed and empowered, on behalf of
    and in the name of the Company, (i) to execute and verify the Petition as well as all
    other ancillary documents and other documents related to the bankruptcy case and to
    cause the Petition to be filed with the United States Bankruptcy Court for the
    Southern District of Indiana and to make or cause to be made prior to execution
    thereof any modifications to the Petition or ancillary documents as a Designated
    Officer, in his discretion, deems necessary or desirable in order to carry out the intent
    and accomplish the purposes of these resolutions (approval of any of the above-
    described documents to be conclusively established by the execution thereof by a
    Designated Officer), (ii) to execute (a) a consent to the entry of an order for relief in
    an involuntarily-commenced chapter 11 or chapter 7 case, if any, or (b) a request for
    conversion of an involuntarily-commenced chapter 11 or chapter 7 case, if any, (iii)
    to execute, verify, and file or cause to be filed all petitions, schedules, lists, motions,
    applications and other papers or documents (including, without limitation,
    documents executed pursuant to which the Company shall receive or guarantee
    postpetition funding) necessary or desirable in connection with the foregoing, and
    (iv) to execute and verify any and all other documents necessary or appropriate in
    connection therewith in such form as a Designated Officer may approve (such


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    approval to be conclusively established by the execution thereof by a Designated
    Officer);

            FURTHER RESOLVED, that the law firm of Quarles & Brady LLP and
    any local Indiana counsel or special counsel selected by a Designated Officer, if any,
    are authorized, empowered and directed to represent the Company, as debtor and/or
    debtor in possession, in connection with any case commenced by or against it under
    the Bankruptcy Code;

            FURTHER RESOLVED, that each Designated Officer is authorized,
    directed and empowered to retain on behalf of the Company such other attorneys,
    financial advisors, accountants, and other professionals as such Designated Officer
    shall deem appropriate in his judgment;

            FURTHER RESOLVED, that each Designated Officer is authorized,
    directed and empowered to enter into, in the name of and on behalf of the Company,
    as debtor and/or debtor in possession, any financial transactions as the Designated
    Officer so acting shall deem appropriate in his judgment, including, without
    limitation, debtor-in-possession financing with Sase Kosan KK and/or other entities,
    as borrower, co-borrower, guarantor, or in any other capacity as the Designated
    Officer shall deem appropriate in his judgment;

            FURTHER RESOLVED, that each and every manager and officer of the
    Company, be, and each of them, acting alone, is hereby authorized, directed and
    empowered from time to time in the name of and on behalf of the Company to take
    such actions and execute and deliver such certificates, instruments, notices and
    documents as may be required or as such officer may deem necessary, advisable or
    proper to carry out and perform the obligations of the Company (including, without
    limitation, documents executed pursuant to which the Company shall receive or
    guarantee postpetition funding); all such actions to be performed in such manner, and
    all such certificates, instruments, notices and documents to be executed and delivered
    in such form, as the officer performing or executing the same shall approve, the
    performance or execution thereof by such officer to be conclusive evidence of the
    approval thereof by such officer and by the Company;

            FURTHER RESOLVED, that in addition to the specific authorizations
    heretofore conferred upon the Designated Officers of the Company, each manager
    and officer of the Company be, and each of them, acting alone, hereby is, authorized,
    directed and empowered, in the name and on behalf of the Company, to do or cause
    to be done all such further acts and things and to execute and deliver all such other
    instruments, certificates, agreements and documents as they or any of them may
    consider necessary or appropriate to enable the Company to carry out the intent and
    to accomplish the purpose of the foregoing resolutions;

            FURTHER RESOLVED, that all actions heretofore taken by any manager,
    officer, or director of the Company in connection with the foregoing resolutions be,
    and all such actions hereby are, confirmed, ratified, and approved in all respects; and


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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

In re:                                         )
                                               )
         SCOTTY’S HOLDINGS, LLC,               )       Case No. 18-_____-_____-11
                                               )       (Joint Administration Pending)
                                               )
                        Debtor(s).             )


                               LIST OF SECURED CREDITORS1

    Name of creditor and complete      Name, telephone number and              Amount of
    mailing address                    complete mailing address of             claim/collateral
                                       employee, agent, department of
                                       creditor familiar with claim who
                                       may be contacted
    The Huntington National Bank       C. Dunlap                               Approximately $1.1
    PO Box 182232, NC1W32              J. Burke                                MM; assets
    Columbus, OH 43218                 The Huntington National Bank            including cash
                                       PO Box 182232, NC1W32                   collateral
                                       Columbus, OH 43218

    Rewards Network Establishment      K. DeCicco                              Approximately
    Services, Inc.                     Rewards Network Establishment           $500,000; assets
    2 N. Riverside Plaza, Suite 200    Services, Inc.                          including cash
    Chicago, IL 60606                  2 N. Riverside Plaza, Suite 200         collateral
                                       Chicago, IL 60606




1
  Debtor files this list based only on preliminary information; this list is not an admission as to the
amount of any claim against the Debtor or an admission as to the perfection or priority of any
security interest. This list is not and shall not be deemed to create or perfect a security interest in
favor of any creditor set forth herein. Debtor reserves its rights to dispute any lien or security
interest claimed by any creditor listed herein, and any amounts any creditor listed herein may claim
to be owed by Debtor.


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        RESPECTFULLY SUBMITTED this 11th day of December, 2018.

                                      QUARLES & BRADY LLP


                                  By: /s/ Lucy R. Dollens
                                      Lucy R. Dollens (Bar No. 23547-49)
                                      Christopher Combest (IL ARDC No. 06224701)
                                      Pro Hac Vice Admission Pending
                                      Isaac M. Gabriel (AZ Bar No. 021780)
                                      Pro Hac Vice Admission Pending
                                      135 N. Pennsylvania St., Suite 2400
                                      Indianapolis, Indiana 46204
                                      Telephone: (317) 957-5000
                                      Facsimile: (317) 957-5010
                                      lucy.dollens@quarles.com
                                      christopher.combest@quarles.com
                                      isaac.gabriel@quarles.com
                                      Proposed Attorneys for Debtors




                                         2
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     Fill in this information to identify the case:
 
    Debtor name Scotty’s Holdings, LLC
    United States Bankruptcy Court for the: Southern            District of Indiana
                                                                          (State)

    Case number (If known):                                                                                                     Check if this is an
                                                                                                                                          amended filing

 
Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                   12/15
 
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.


    Name of creditor and complete         Name, telephone number, and Nature of the claim   Indicate if     Amount of unsecured claim
    mailing address, including zip code   email address of creditor   (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                          contact                     debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                      professional          unliquidated,   total claim amount and deduction for value of
                                                                      services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if   Deduction for         Unsecured
                                                                                                            partially         value of              claim
                                                                                                            secured           collateral or
                                                                                                                              setoff
1     zGrowth Partners LLC                                             Professional                                                                 $151,250.00
      42490 Garfield Rd., Suite 202                                    Services
      Clinton Township, MI 48038


2     Due North Holdings, LLC             (844) 221-2456               Professional                                                                 $150,000.00
      15990 N. Greenway Hayden                                         Services
      Loop, #190
      Scottsdale, AZ 85260

3     Huntington National Bank            (800) 465-1271               Loan                                                                         $33,032.02
      P.O. Box 182232
      NC1W32
      Columbus, OH 43218

4     Indiana Secretary of State          (317) 332-6531               Governmental                                                                 $6,874.26
      200 W. Washington St.
      Room 201
      Indianapolis, IN 46204

5     Navitas Credit Corp.                                             Loan                                                                         $838.76
      P.O. Box 935204
      Atlanta, GA 31193


6     CT Corporation                      Vanessa Lawrence             Professional                                                                 $120.00
      P.O. Box 4349                       (855) 284-8307               Services
      Carol Stream, IL 60197              cls-smbrepresentationteam
                                          @walterskluwer.com

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Debtor                  Scotty’s Holdings, LLC                                                   Case number (if known)                                            
                        Name 
 
     Name of creditor and complete           Name, telephone number, and Nature of the claim   Indicate if      Amount of unsecured claim
     mailing address, including zip code     email address of creditor   (for example, trade   claim is         If the claim is fully unsecured, fill in only unsecured
                                             contact                     debts, bank loans,    contingent,      claim amount. If claim is partially secured, fill in
                                                                         professional          unliquidated,    total claim amount and deduction for value of
                                                                         services, and         or disputed      collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if   Deduction for         Unsecured
                                                                                                                partially         value of              claim
                                                                                                                secured           collateral or
                                                                                                                                  setoff
9




10




11




12




13




14




15




16




17




18




19




20




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